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 8                           UNITED STATES DISTRICT COURT

 9                           CENTRAL DISTRICT OF CALIFORNIA

10                                 SOUTHERN DIVISION

11
     DANA SEUFERT,                         Case No. 8:20-cv-02239-GJS
12
13              Plaintiff,                 [PROPOSED] ORDER FOR THE
                                           AWARD AND PAYMENT OF
14                     v.                  ATTORNEY FEES AND EXPENSES
15                                         PURSUANT TO THE EQUAL ACCESS
   KILOLO KIJAKAZI, Acting                 TO JUSTICE ACT
16 Commissioner of Social Security,
17
             Defendant.
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19        Based upon the parties’ Stipulation for the Award and Payment of Equal Access
20 to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
21 amount of $6,300.00 as authorized under the Equal Access to Justice Act (EAJA), 28
22 U.S.C. § 2412(d), and costs of $402 under 28 U.S.C. § 1920, be awarded subject to the
23 terms of the Stipulation.
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     DATED: October 21, 2021             ____________________________________
25                                       GAIL J. STANDISH
26                                       UNITED STATES MAGISTRATE JUDGE
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